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EXHIBIT 10
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Westlaw.

Slip Copy, 2009 WL 2382558 (E.D.Mich.)
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Only the Westlaw citation is currently available.

United States District Court,
E.D. Michigan,
Southern Division.
Norman POYDRAS, Jr., Plaintiff,
v.

ONE WEST BANK, Defendant.

No. 09-11435.
July 31, 2009.

Norman Poydras, Jr., Detroit, MI, pro se.

Timothy B. Myers, Orlans Assoc., Troy, MI, for
Defendant.

OPINION AND ORDER
LAWRENCE P. ZATKOFF, District Judge.
L INTRODUCTION

*] This matter is before the Court on Defend-
ant's motion to dismiss, or alternatively, motion for
summary judgment [dkt 10]. Plaintiff did not re-
spond to Defendant's motion and the time to do so
has elapsed. See E.D. Mich. L.R. 7.1(d)(1). The
Court finds that the facts and legal arguments are
adequately presented in Defendant's filing such that
the decision process would not be significantly
aided by oral argument. Therefore, pursuant to E.D.
Mich. L.R. 7.1(e)(2), it is hereby ORDERED that
the motion be resolved on the brief submitted,

if, BACKGROUND

Plaintiff, proceeding pro se, filed this case on
April 16, 2009, alleging violations of various lend-
ing statutes, including the Truth im Lending Act
(TILA), 15 U.S.C. § 1601 e¢ seg. and the Fair Debt
Collection Practices Act (FDCPA), 15 U.S.C. §
1692 ef seq. Plaintiff's complaint arises out of the
origination and servicing of his mortgage. Plainuff
thereafter filed a motion for injunctive relief and a
temporary restraining order, which the Court de-
clined to address on the merits due to jurisdictional

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concems.

Plaintiff and IndyMac Bank, FSB, entered into
a mortgage agreement on October 3, 2005, with
Mortgage Electronic Registration Systems, Inc.
(MERS) serving as IndyMac's nominee and as the
mortgagee. See Def.'s Ex. 2. MERS later assigned
its interest to IndyMac. See Def.'s Ex. 3. IndyMac
failed and the FDIC placed the, bank in a receiver-
ship. In March 2009, Defendant, a newly-formed
institution, purchased the assets of IndyMac.

HI. LEGAL STANDARD

A motion brought pursuant to Fed.R.Civ.P.
12(b)(6) for failure to state a claim upon which re-
lief may be granted tests the legal sufficiency of
Plaintiff's claims. The Court must accept as true all
factual allegations in the pleadings, and any ambi-
guities must be resolved in Plaintiff's favor. See
Jackson v. Richards Med. Co., 961 F.2d 575,
577-78 (6th Cir.1992). While this standard is de-
cidedly liberal, it requires more than the bare asser-
tion of legal conclusions. See Advocacy Org. for
Patients & Providers v. Auto Club Ins. Ass'n, 176
F.3d 345, 319 (6th Cir,1999). Thus, a plaintiff must
make “a showing, rather than a blanket assertion of
entitlement to relief’ and “[f]actual allegations
must be enough to raise a right to relief above the
speculative level.” Bell Atlantic Corp. v. Twombly,
§50 U.S. $44, 127 S.Ct. 1955, 1965, 167 L.Ed.2d
929 (2007).

In deciding a motion to dismiss pursuant to
Fed.R.Civ.P. £2¢b) (6), this Court may only con-
sider “the facts alleged in the pleadings, documents -
attached as exhibits or incorporated by reference in
the pleadings, and matters of which the [Court] may
take judicial notice.” 2 James Wm. Moore et al.,
Moore's Federal Practice ¥ 12,34[2] (3d ed.2000).
If, in deciding the motion, the Court considers mat-
ters outside the pleadings, the motion will be
treated as one for summary judgment pursuant to
Fed.R.Civ.P. 56, See Fed.R.Civ.P. 12(b).

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*2 The Court recognizes that when a plaintiff
proceeds pro se, as is the case here, the Court must
construe that plaintiffs pleadings liberally and that
such pleadings are held to a lesser standard than
those drafted by a licensed attorney. See Haines v.
Kerner, 404 U.S. 519, 520, 92 S.Ct. 594, 30
L.Ed.2d 652 (1972); Jourdan v. Jabe, 951 F.2d 108,
110 (6th Cir.1991}. The Court, however, will not
re-write a deficient complaint or otherwise serve as
counsel for that plaintiff. See GJR Invs., Inc. ¥.
Couniy of Escambia, Fla., 132 F.3d 1359, 1369
(11th Cir, 1998).

IV. ANALYSIS

A, TILA Claims

Plaintiff avers that Defendant failed to provide
TILA-required disclosures. Plaintiff seeks to res-
cind his mortgage pursuant to the TILA as a result
of Defendant's alleged violations. Defendant main-
tains that the statute of limitations has elapsed on
any potential TILA violation.

Generally, a violation of the TILA must be
brought “within one year from the date of the oc-
currence of the violation.” 15 U.S.C. § 1640(e). The
right of rescission pursuant to TILA “shall expire
three years after the date of consummation of the
transaction or upon the sale of the property,
whichever occurs first .... Jd. § 1635(6}. See also
Strickfaden vy. Place Park Mortgage Corp., No
07-15347, 2008 WL 3540079, at *2 (E.D.Mich.
Aug.}2, 2008) (“The time period in § 1635,
however, applies only to an individual's exercise of
her right to rescission.”).

Defendant has attached a copy of Plaintiffs
mortgage agreement, which indicates that the
agreement was entered into on October 3, 2005. See
Def.'s Ex. 2. Plaintiff filed this case on April 16,
2009. Thus, Plaintiffs claims under the TILA,
whether subject to the 1-year or 3-year statute of
limitations, are time-barred, and Defendant is en-
titled to dismissal of those claims.

B. FDCPA Claims
Plaintiff also insists that Defendant's actions vi-

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olated the FDCPA. Defendant maintains that the
FDCPA does not apply because the statute's defini-
tion of “debt collector” specifically excepts credit-
ors. The Court agrees.

The FDCPA was enacted to “eliminate abusive
debt collection practices by debt collectors, to in-
sure that those debt collectors who refrain from us-
ing abusive debt collection practices are not com-
petitively disadvantaged, and to promote consistent
State action to protect consumers against debt col-
lection abuses.” fd. § 1692(e).

Defendant does not fall within the statutory
definition of “debt collector,” as any actions it took
were to collect a debt that it was owed. See id. §
1692a(6). See also Givens v. HSBC Home Mort-
gage Servs., No 08-10985, 2008 WL 4190999, at
#2 (E.D.Mich. Aug.26, 2008) (“[I]t is well settled
that the provisions of the FDCPA apply only to pro-
fessional debt collectors, not creditors or mort-
gagors.”); Turk v. CitiMortgage, 05-70386, 2005
WEL 2090888, at *5 (E.D.Mich. Aug.29, 2005)
(“Defendant was trying to obtain a debt that it was
owed by Plaintiff. Therefore, the Court finds, as a
matter of law, that Defendant is not a ‘debt collect-
or’ under the FDCPA.”). As a result, Defendant is
entitled to dismissal of Plaintiffs FDCPA claims.

C. Other

*3 Plaintiff accuses Defendant of mail fraud in
violation of 18 U.S.C. § 1341. A civil plaintiff gen-
erally has no standing to assert a claim arising un-
der a criminal statute. See, e.g., Chrysler Corp. vy.
Brown, 441 U.S, 281, 316, 99 $.Ct 1705, 60
L.Ed.2d 208 (1979). Section 1341 does not incor-
porate a private cause of action. See Ryan v. Ohio
Edison Co., 611 F.2d 1170, 1179 (6th Cir.1979);
Fisher v. Conseco Fin. Co., No.
3:07cv266/RV/MD, 2007 WL 3012881, at *3 n. 9
(N.D.Fla. Oct.12, 2007) (collecting cases). There-
fore, Plaintiff cannot assert this charge.

Plaintiff cites several other regulations, stat-
utes, and code provisions, but the Court cannot dis-
cern the factual underpinnings of any additional

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causes of action, let alone find that Plaintiff has
stated a viable claim.

IV. CONCLUSION
Accordingly, IT IS HEREBY ORDERED that
Defendant's motion to dismiss [dkt 10] is GRAN-
TED.

IT IS FURTHER ORDERED that Plaintiffs
cause of action is DISMISSED WITH PREJU-
DICE.

IT IS SO ORDERED.

E.D.Mich.,2009.
Poydras v. One West Bank
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